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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                *
CRAIG DORSEY, et al.                            *
                                                *
                                                *
       v.                                       * Civil No. CCB-10-92
                                                *
                                                *
TGT CONSULTING, LLC, et al.                    *
                                                *
                                             ******

                                       MEMORANDUM

       Craig Dorsey, a former server at the Greene Turtle bar and restaurant at BWI Airport,

brought this suit for minimum wage and overtime violations on behalf of himself and similarly

situated individuals against The Greene Turtle Franchise Corporation, various related companies,

and two executives of those companies. On March 15, 2013, the court approved the parties’

settlement of $240,000, which is to be shared by 52 plaintiffs. Now pending before the court is

the plaintiffs’ motion for attorneys’ fees and costs pursuant to the Fair Labor Standards Act of

1938 (“FLSA”) and, as applicable, the Maryland Wage and Hour Law, the D.C. Minimum Wage

Act, Fed. R. Civ. P. 54(d)(2)(A), and Local R. 109.2.1 The plaintiffs seek an award of

$467,020.00 in attorneys’ fees2 and $7,183.53 in costs, as well as an “enhancement” for attorney



1
  The corporate defendants—including The Greene Turtle Franchising Corp., TGT Consulting,
LLC, The Greene Turtle BWI, LLC, The Greene Turtle Annapolis, Inc., Never Nervous, Inc.,
d/b/a Greene Turtle (Laurel, MD), The Greene Turtle Salisbury, LLC, The Greene Turtle
Towson, LLC, and Turtle Shell Enterprises, LLC—responded to the plaintiffs’ motion.
Individual defendants Teri DeVito and J. Michael Sanford adopted the corporate defendants’
response in its entirety.
2
  The plaintiffs request fees of $259,740.00 for Howard B. Hoffman, $141,840.00 for Bradford
W. Warbasse, $40,280.00 for Stephen J. Springer, and $7,117.50 for James Edward Rubin. They
also request compensation of $14,820.00 for legal assistant Ryan Cohen, $2,472.50 for law clerk
Liz Shen, and $230.00 for paralegal Cheryl Dunaway. Based on those numbers, the court
concludes that the plaintiffs are actually requesting $466,500.00 in fees.
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Howard B. Hoffman of $17,052.96 and a supplemental payment of $18,165.803 for the

preparation of their reply brief. Also pending is the corporate defendants’ motion for leave to

file a surreply.4 The parties have fully briefed the issues, and no oral argument is necessary. See

Local R. 105.6. For the reasons stated below, attorneys’ fees in the amount of $407,270.00 and

costs in the amount of $6,101.68 will be awarded. A supplemental payment of $10,410.00 will

be awarded to plaintiffs’ counsel for the preparation of their reply. Hoffman will not receive a

fee enhancement or prejudgment interest.

                                               ANALYSIS

       Successful plaintiffs in FLSA actions are entitled to reasonable attorney’s fees and costs.

29 U.S.C. § 216(b). Although the payment of attorney’s fees and costs to employees prevailing

under the FLSA is mandatory, “[t]he amount of the attorney’s fees . . . is within the sound

discretion of the trial court.” Burnley v. Short, 730 F.2d 136, 141 (4th Cir. 1984). In deciding

the amount of attorney’s fees to award, the court must calculate the lodestar, or “the number of

hours reasonably expended on the litigation times a reasonable hourly rate.” Blum v. Stenson,

465 U.S. 886, 888 (1984). A reasonable fee is one that is “sufficient to induce a capable attorney

to undertake the representation of a meritorious . . . case.” Perdue v. Kenny A., 559 U.S. 542,

552 (2010). According to the Supreme Court, “the lodestar method yields a fee that is

presumptively sufficient to achieve this objective.” Id.

       Historically, courts have assessed the reasonableness of fee petitions by considering the

following “Johnson factors”:

3
  Based on the hourly rates and billable hours proposed by plaintiffs’ counsel, (see Pls.’ Reply,
ECF No. 219, at 24 n.19), they are requesting $18,150.00 in fees and $15.80 in costs.
4
  The motion for leave to file a surreply will be denied. The surreply either does not address new
matters or addresses matters that could have been raised earlier in the corporate defendants’
response. See Khoury v. Meserve, 268 F. Supp. 2d 600, 605–06 (D. Md. 2003), aff’d, 85 Fed.
App’x 960 (4th Cir. 2004).
                                                 2
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       (1) the time and labor required in the case, (2) the novelty and difficulty of the
       questions presented, (3) the skill required to perform the necessary legal services,
       (4) the preclusion of other employment by the lawyer due to acceptance of the
       case, (5) the customary fee for similar work, (6) the contingency of a fee, (7) the
       time pressures imposed in the case, (8) the award involved and the results
       obtained, (9) the experience, reputation, and ability of the lawyer, (10) the
       “undesirability” of the case, (11) the nature and length of the professional
       relationship between the lawyer and the client, and (12) the fee awards made in
       similar cases.

In re Abrams & Abrams, P.A., 605 F.3d 238, 244 (4th Cir. 2010) (citation omitted). The

Supreme Court in 2010 expressed some doubt as to the reliability of this approach, see Perdue,

559 U.S. at 550–51, but the Fourth Circuit has indicated that the Johnson factors may properly

be used to “inform” and sometimes “adjust” the calculation of the lodestar number. See McAfee

v. Boczar, 738 F.3d 81, 89 (4th Cir. 2013). Thus, the court considers the Johnson factors “in

conjunction with the lodestar methodology” and, “to the extent that any of these factors already

has been incorporated into the lodestar analysis, [it does] not consider that factor a second time.”

E. Associated Coal Corp. v. Dir., Office of Workers’ Compensation Programs, 724 F.3d 561,

570 & n.5 (4th Cir. 2013).

       As a preliminary matter, the court notes that the defendants do not challenge plaintiffs’

counsel’s proposed hourly rates. Counsel for the plaintiffs request the following hourly rates: (1)

$300.00 for Hoffman; (2) $400.00 for attorney Bradford W. Warbasse; (3) $400.00 for attorney

Stephen J. Springer; and (4) $325.00 for attorney James Edward Rubin. They also seek

reimbursement at $115.00 per hour for law clerk Liz Shen’s time, reimbursement at $100.00 per

hour for legal assistant Ryan Cohen’s time, and reimbursement at $100.00 per hour for paralegal

Cheryl Dunaway’s time. The proposed hourly rates generally represent the upper end of the

accepted rates for lawyers and law clerks with comparable experience. See Local R., App. B:

Rules and Guidelines for Determining Attorneys’ Fees in Certain Cases. Moreover, the rates are



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consistent with hourly rates previously awarded by the court. See Nelson v. A & H Motors, Inc.,

No. JKS-12-2288, 2013 WL 388991, at *2 (D. Md. Jan. 30, 2013) (awarding Hoffman an hourly

rate of $300.00); Durham v. Jones, No. WMN-10-2534, 2012 WL 3985224, at *9 (D. Md. Sept.

10, 2012) (same); Spencer v. Cent. Servs., LLC, No. CCB-10-3469, 2012 WL 142978, at *4 (D.

Md. Jan. 13, 2012) (same); see also Chapman v. Ourisman Chevrolet Co., Inc., No. AW-08-

2545, 2011 WL 2651867, at *14, *16 (D. Md. July 1, 2011) (awarding Hoffman and Warbasse

their customary hourly rates of $300.00 and $400.00, respectively).5 Thus, the court accepts the

proposed hourly rates in this case as reasonable, and shall apply them in calculating the lodestar.6

                                                     A.

       The defendants put forth seven arguments as to why hours not reasonably expended must

be deducted from the lodestar calculation. The court will respond to each in turn.

                                                     1.

       The defendants challenge the number of hours plaintiffs’ counsel dedicated to written

discovery responses as well as the total number of hours dedicated to discovery. (See Defs.’

Opp’n, ECF No. 217, at 18.) According to the defendants, plaintiffs’ counsel claim

approximately 280 billable hours on written discovery responses. Plaintiffs’ counsel dispute this

characterization of their time, asserting that they claim “approximately 150 hours of

attorney/legal assistant time . . . which was spent gathering information from Plaintiffs,




5
  Unpublished opinions are for the soundness of their reasoning, not for any precedential value.
6
  In addition to not challenging plaintiffs’ counsel’s proposed hourly rates, the defendants do not
oppose the 21.5 hours claimed for Shen or the 2.3 hours claimed for Dunaway, which are
reflected in detailed time sheets. (See Shen’s Time Sheet, ECF No. 215-14; Springer’s Time
Sheet, ECF No. 216-1, at 11.) The court is satisfied with the number of hours claimed for Shen’s
work, and will award reimbursement for 21.5 hours of her time, for a total of $2,472.50. The
court also will award compensation for 2.3 hours of Dunaway’s time, for a total of $230.00.
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answering individualized inquiries, and responding to the individualized discovery.” (Pls.’

Reply, ECF No. 219, at 7.)

       The court need not decide how many hours plaintiffs’ counsel specifically dedicated to

written discovery responses, because it finds a reduction of the total hours spent on discovery is

warranted. Having awarded the upper end of accepted hourly rates, the court expects counsel

and their legal assistant to have worked efficiently, in a manner that reflects their substantial

experience. The written discovery responses were substantially similar for each plaintiff, and

relatively few depositions were taken. The court will reduce plaintiffs’ counsel’s fees for

“written discovery” and “depositions” by approximately 20%, so that Hoffman’s fee will be

reduced by 27.4 hours (see Hoffman’s Time Sheet, ECF No. 215-5, at 28, 31), Warbasse’s by

30.4 hours (Warbasse’s Time Sheet, ECF No. 215-7, at 11–12), Springer’s by 1.5 hours (see

Springer’s Time Sheet, ECF No. 216-1, at 5), Rubin’s by 0.6 hours (Rubin’s Time Sheet, ECF

No. 215-13, at 1–3), and Cohen’s by 29.6 hours (Cohen’s Time Sheet, ECF No. 215-15, at 7).

                                                      2.

       The defendants argue that plaintiffs’ counsel may not obtain fees for discovery activities

taking place during the thirty-day period beginning November 1, 2012. According to the

defendants, the parties agreed to a thirty-day stay of discovery, but plaintiffs’ counsel assert that

no such stay existed. Plaintiffs’ counsel are correct that the parties did not make a formal request

for a stay, nor was a stay entered on the court’s docket. By contrast, on previous occasions, the

parties noted their agreement to stay proceedings in status reports submitted to the court, (see

Defs.’ Status Report, ECF No. 102; Defs.’ Status Report, ECF No. 104), or filed a joint request

for a stay. (See Joint Request for Stay, ECF No. 205.)




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       Furthermore, upon reviewing the emails submitted by both sides, the court agrees with

plaintiffs’ counsel that the parties did not informally agree to stay proceedings. Hoffman’s

November 1, 2012, email put in writing his understanding of a previous conversation with

defense counsel, requesting that they “let [him] know if [he has] left anything out of this

framework, or confirm that [they] are all on the same page.” (Hoffman Nov. 1, 2012, Email,

ECF No. 219-5, at 1.) In essence, his email was an offer to enter into a stay. The next day,

Warbasse wrote to defense counsel, again requesting “written confirmation” that they agree to

the terms contained in Hoffman’s November 1, 2012, email. (Warbasse Nov. 2, 2012, Email,

ECF No. 219-6, at 1.) Defense lawyer Ronald W. Taylor indicated he would reject the terms

outlined in Hoffman’s email, responding that “there are some points that are not correct and/or

need to be discussed.” (Taylor Nov. 2, 2012, Email, ECF No. 219-7, at 1.) Finally, later that

day, Taylor wrote to plaintiffs’ counsel outlining different terms from those contained in

Hoffman’s email. (Taylor, Nov. 2, 2012, Email, ECF No. 219-9, at 1.) When Taylor proposed

different terms, he effectively rejected the offer to enter into a stay and provided plaintiffs’

counsel with a new offer. Hoffman unequivocally rejected Taylor’s counteroffer in a November

7, 2012, email. (Hoffman Nov. 7, 2012, Email, ECF No. 219-10, at 1.) Accordingly, the court

will not reduce plaintiffs’ counsel’s hours based on the alleged stay.

       The defendants also ask the court to deny the request for attorneys’ fees and costs

stemming from plaintiff Susan Clasen’s bankruptcy case, which was initiated during the alleged

stay. Plaintiffs’ counsel seek compensation of $1,097.65 for attorney Lori Simpson’s time as a

cost, not an attorney’s fee. They also request fees for their own time spent pursuing Clasen’s

bankruptcy case. Plantiffs’ counsel explain that they retained attorney Simpson to reopen

Clasen’s bankruptcy case; they believed Simpson’s assistance was necessary to ensure the



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bankruptcy proceedings did not prevent Clasen’s participation in the FLSA lawsuit. According

to the defendants, “Plaintiffs’ decision to incur additional expenses by pursuing a bankruptcy

claim and contacting a bankruptcy lawyer should not fall on Defendants as this case arose under

the FLSA.” (Defs.’ Opp’n at 9.) The court must agree with the defendants. Clasen’s

bankruptcy case was a separate, personal issue for which she was responsible. Therefore,

plaintiffs’ counsel may not recover the $1,097.65 claimed for Simpson’s services.7 The court

also will reduce plaintiffs’ counsel’s hours for the time spent assisting with Clasen’s bankruptcy

case and communicating with bankruptcy counsel. Hoffman’s fee will reduced by 4.4 hours (see

Hoffman’s Time Sheet at 11–13, 15), and Springer’s fee will be reduced by 1.3 hours (see

Springer’s Time Sheet at 3).

                                                      3.

       The defendants object to the number of hours dedicated to the plaintiffs’ motion for

attorneys’ fees as unreasonable and excessive. The parties disagree as to the number of hours

spent on the motion for attorneys’ fees; the defendants indicate that plaintiffs’ counsel spent 61

hours on the motion, while plaintiffs’ counsel insist they spent, at most, 41 hours. In particular,

according to plaintiffs’ counsel, Hoffman worked on the motion for 34.2 hours, Warbasse for 4.7

hours, and Rubin for 2.1 hours.

       Although plaintiffs’ counsel express confusion as to how the defendants arrive at 61

hours, it is clear to the court that they do so by relying on plaintiffs’ counsel’s own time sheets.

(See Hoffman’s Time Sheet at 51–52; Warbasse’s Time Sheet at 17–18; Rubin’s Time Sheet at

3.) Their detailed time sheets claim the following hours for the preparation of the fee petition:



7
  Other than their objection to Simpson’s services, the defendants do not challenge the costs
requested by plaintiffs’ counsel. The court is satisfied that the remaining amount of costs is
reasonable, and will award $6,101.68 in costs.
                                                  7
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54.9 hours for Hoffman, 4.7 hours for Warbasse, and 2.1 hours for Rubin. Now that plaintiffs’

counsel claim only 34.2 hours for Hoffman’s work on the fee petition, the court will reduce his

hours accordingly. Thus, Hoffman’s fee will be reduced by 20.7 hours.

       As for the fees requested for the preparation of the reply brief, Hoffman seeks 51.5 hours,

Warbasse seeks 4.8 hours, and Rubin seeks 2.4 hours. The court cannot conclude that

Hoffman’s 51.5 hours are reasonable in light of the 34.2 hours he dedicated to the initial motion.

Moreover, Hoffman’s hours are not reasonable given his approximately fourteen years of

experience. Although his experience merits a $300.00 hourly rate, it also comes with the

expectation that he works efficiently. Plaintiffs’ counsel note that the court in Chapman

“awarded the full value for the requested time for the preparation of a 22 page Reply [in support

of a motion for attorneys’ fees].” (Pls.’ Reply at 13.) But in that case, counsel only requested

compensation for 18.3 hours. Chapman, 2011 WL 2651867, at *18 n.11. Recognizing that this

case involved a document of similar length—but also entailed a higher degree of success for

plaintiffs’ counsel than Chapman—the court will reduce Hoffman’s hours by approximately half,

to 25.7 hours.

                                                     4.

       The defendants assert that plaintiffs’ counsel may not recover fees for hours spent on

unsuccessful motions—in, particular, their (1) motion for sanctions (ECF No. 138), (2) motion in

limine (ECF No. 139), (3) opposition to defendants’ motion for an extension of time (ECF No.

147), (4) motion to strike (ECF No. 149), (5) motion for a scheduling order (ECF No. 155), (6)

reply in support of the motion for sanctions (ECF No. 164), (7) reply in support of the motion in

limine (ECF No. 163), (8) cross-motion for summary judgment (ECF No. 141), and (9) reply in




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support of the cross-motion for summary judgment (ECF No. 165). The Supreme Court has

explained:

       Where the plaintiff has failed to prevail on a claim that is distinct in all respects
       from his successful claims, the hours spent on the unsuccessful claim should be
       excluded in considering the amount of a reasonable fee. Where a lawsuit consists
       of related claims, a plaintiff who has won substantial relief should not have his
       attorney’s fee reduced simply because the district court did not adopt each
       contention raised.

Hensley v. Eckerhart, 461 U.S. 424, 440 (1983). Put another way, “the appropriate inquiry

concerns whether the claims on which the plaintiff prevailed are related to those on which he did

not.” Brodziak v. Runyon, 145 F.3d 194, 197 (4th Cir. 1998). The court may not award fees for

unsuccessful claims that are unrelated to successful ones. See id. “When, however, all claims

involve a common core of facts . . . [m]uch of counsel’s time will be devoted generally to the

litigation as a whole, making it difficult to divide the hours expended on a claim-by-claim basis.”

Id. (citations and internal quotation marks omitted); Andrade v. Aerotek, Inc., 852 F. Supp. 2d

637, 640–41 (D. Md. 2012); see also Imgarten v. Bellboy Corp., 383 F. Supp. 2d 825, 839 (D.

Md. 2005) (“A plaintiff who was unsuccessful at a stage of litigation that was, nevertheless, a

necessary step to ultimate victory is entitled to attorneys’ fees even for the unsuccessful step.”).

       Plaintiffs’ counsel may not recover for the time spent preparing the motion for sanctions

or the reply in support of the motion for sanctions. The motion, which was rejected in the court’s

August 20, 2012, Memorandum opinion, was unrelated to any successful claims in this case and

did not aid the parties in reaching a settlement. Much the opposite, the motion appears to have

fueled the contentious relationships among counsel, which, in turn, slowed the settlement

process. The court will subtract 3.5 hours from Hoffman’s fee (see Hoffman’s Time Sheet at

37–38, 40–42), 1.7 hours from Warbasse’s fee (see Warbasse’s Time Sheet at 14–15), 8.9 hours




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from Springer’s fee (see Springer’s Time Sheet at 6–9), and 0.5 hours from Rubin’s fee (see

Rubin’s Time Sheet at 2).

       The court also agrees with the defendants that plaintiffs’ counsel may not claim billable

hours for the preparation of the motion in limine or the related reply. The court’s August 20,

2012, opinion explained that the testimony at issue in the motion in limine “does not affect the

outcome of the motions for summary judgment and decertification.” (ECF No. 170 at 16–17

n.6.) Given its earlier determination, the court cannot conclude that plaintiffs’ unsuccessful

motion was related to successful claims in this case. The court will subtract 29.7 hours from

Hoffman’s fee (see Hoffman’s Time Sheet at 37–38, 40–41), 5.1 hours from Warbasse’s (see

Warbasse’s Time Sheet at 14), and 2.4 hours from Springer’s (see Springer’s Time Sheet at 8–9).

       Additionally, plaintiffs’ counsel may not claim hours for the opposition to defendants’

motion for an extension of time, which was neither successful nor in any way related to

successful claims. But plaintiffs’ counsel state that they are not seeking compensation for the

time spent on this document, and Hoffman’s time sheet so confirms. (See Hoffman’s Time Sheet

at 54.) Accordingly, the court need not reduce billable hours for the preparation of the

opposition brief. Likewise, the court will not subtract from counsel’s fees the hours spent on the

motion to strike. Contrary to the defendants’ claim, the plaintiffs were successful on this motion;

indeed, the court granted the motion to strike. (ECF No. 170 at 31.)

       The court will deduct from plaintiffs’ counsel’s hours the time spent preparing the motion

for a scheduling order. This motion was denied as moot, and merited only a one-sentence

footnote discussion in the court’s Memorandum. (See ECF No. 170 at 32 n.15.) Time should

have been deducted in the exercise of billing judgment. Fees will therefore be reduced as

follows: 3.2 hours from Hoffman’s fee (Hoffman’s Time Sheet at 39), 0.2 hours from



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Warbasse’s fee (see Warbasse’s Time Sheet at 14), and 1.3 hours from Springer’s fee (see

Springer’s Time Sheet at 7).

       Finally, the court will not reduce fees for time spent on plaintiffs’ cross-motion for

summary judgment and their related reply. The defendants are correct that the court denied the

plaintiffs’ motion, rejecting their argument regarding the retroactivity of a new tip notification

regulation. But in addition to narrowing the arguments plaintiffs could pursue, the court

identified a genuine factual dispute as to whether Greene Turtle properly informed its employees

of tip credit provisions of the FLSA. The court’s ruling on this factual issue allowed the parties

to assess the relative strength of their cases moving forward. Indeed, both parties acknowledged

in their joint motion for approval of the FLSA settlement agreement that they took into account

the factual dispute in determining what constitutes a reasonable compromise of the case. (See

Joint Mot., ECF No. 213, at 3–5.) The plaintiffs’ cross-motion, therefore, was related to their

successful settlement of this case. Plaintiffs’ counsel are entitled to reasonable fees for the cross-

motion for summary judgment and the related reply.

                                                      5.

       The defendants challenge counsel’s request for fees relating to their “boilerplate” motion

for conditional class certification, asking the court to reduce Hoffman’s time preparing this

motion from 36.2 hours to 6.2 hours. It is true that the approximately three-page-long discussion

of the certification standard is substantially the same as the discussion provided in the motion for

conditional class certification in Chapman. (Compare Mot. to Certify Class, ECF No. 19, at 6–9,

with Chapman v. Ourisman, No. AW-08-2545, ECF No. 12, at 4–7.) The court cannot conclude,

however, that this qualifies the entire motion to certify as boilerplate. The fact that the motion at

issue is twenty-two pages in length, while the Chapman motion was only thirteen pages long,



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reflects that it contains substantial discussion particular to the facts of this case. The motion cites

extensively to exhibits and other documents to make a sufficient factual showing that plaintiffs

are “similarly situated” and, therefore, may be certified as a class. The court is satisfied that

Hoffman’s 36.2 billable hours are reasonable.

                                                       6.

       According to the defendants, plaintiffs’ counsel should not recover fees for hours spent

filing opt-in notices with the court and, thus, Hoffman’s fee should be reduced by 25.9 hours.

The defendants point out that the opt-in notices were filled out by the plaintiffs themselves, not

their lawyers; thus, counsel are seeking fees for the “purely administrative” task of filing the

forms on the court’s electronic filing system. (Defs.’ Opp’n at 14.) Plaintiffs’ counsel argue that

the defendants have mischaracterized their time, and Hoffman billed 18.7 hours for tasks

including filing opt-in notices, reviewing the record, reviewing the forms for correctness, and

contacting clients by phone or in writing. (See Hoffman’s Time Sheet at 16–18, 53.)

       As an initial matter, the court agrees with the defendants that simply filing opt-in notices

is a clerical task not recoverable in attorney’s fees. See Kabore v. Anchor Staffing, No. L-10-

3204, 2012 WL 5077636, at *4 (D. Md. Oct. 17, 2012).8 But the court recognizes that not all of

Hoffman’s time was spent performing ECF filings; indeed, some of Hoffman’s time entries

indicate that he completed other tasks in addition to filing the opt-in notices. (See Hoffman’s

Time Sheet at 16–18, 53.) Where Hoffman’s time entries indicate only that he filed opt-in

notices, however, the court will assume the time was not dedicated to any other task. The court

will therefore reduce Hoffman’s hours by the 4.2 hours dedicated solely to filing opt-in notices.



8
  Hoffman evidently agrees with the court’s and the defendants’ assessment. In another case
where attorney’s fees are at issue, he characterized time spent filing documents as “secretarial
time.” (Manna et al. v. Johnny’s Pizza, Inc. et al., No. CCB-13-721, ECF No. 23, at 23.)
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       Relatedly, the court notes that Hoffman claims 1.7 hours for filing other documents—in

particular, the fifth amended complaint, a motion to exclude and related exhibits, a motion for a

scheduling order, various reply briefs, a proposed scheduling order, a motion to extend the

scheduling order, a motion to extend time to respond to discovery, a motion to compel

interrogatories, and a joint motion to stay. (See id. at 19, 38, 40, 42, 43.) Accordingly, the court

finds another reduction in Hoffman’s time is warranted, and will subtract 1.7 hours from his fee.

The court also will reduce Rubin’s fee by the 0.3 hours he spent filing a motion to compel. (See

Rubin’s Time Sheet at 2.)

                                                      7.

       The defendants object to the nearly 100 hours claimed by plaintiffs’ counsel for

settlement activities, and request an 80% reduction in the hours claimed so that Hoffman’s fee is

reduced by 43 hours, Warbasse’s by 30 hours, and Rubin’s by 0.9 hours. The court agrees with

the defendants that some reduction is warranted. As detailed by both sides, relationships among

counsel were contentious. Plaintiffs’ counsel fault defense counsel for their difficulties, (see,

e.g., Defs.’ Resp. to Mot. to Certify Class, ECF No. 20, at 20–21), but there is plenty of blame to

be shared. Upon reviewing the many emails submitted by both sides, the court notes a

disappointing lack of professionalism and courtesy in a number of plaintiffs’ counsel’s messages.

(See, e.g., Hoffman Jan. 18, 2013, Email, ECF No. 217-2, at 2; Hoffman Jan. 13, 2013, Email,

ECF No. 217-16, at 2; Hoffman Jan. 11, 2013, Email, ECF No. 217-17, at 2.) The lack of

professionalism evidenced in those messages is consistent with the defendants’ claims about

plaintiffs’ counsel’s behavior during the entire case, which appears to have strained the

negotiation process and delayed the parties in reaching a settlement. Recognizing the

defendants’ counsel also bear responsibility for the delay, however, the court will reduce the



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amount of fees requested for settlement by only 20%, so that 10.9 hours will be subtracted from

Hoffman’s time (see Hoffman’s Time Sheet at 51), 6.7 hours from Warbasse’s time (see

Warbasse’s Time Sheet at 17), 0.6 hours from Springer’s time (see Springer’s Time Sheet at 11),

and 0.2 hours from Rubin’s time (see Rubin’s Time Sheet at 2).

                                                      B.

       In addition to identifying particular hours that should be deducted from the lodestar

calculation, the defendants argue that the number of hours claimed by plaintiffs’ counsel is

unreasonable given their “limited success.” Although the court recognizes that they did not

obtain the approximately $470,000.00 they earlier sought, (see Oct. 1, 2012, Letter from

Hoffman, ECF No. 217-15, at 2), it cannot agree that plaintiffs’ counsel had “limited” success in

obtaining a $240,000.000 settlement. See McAfee, 738 F.3d at 92. As explained by counsel,

plaintiffs received at least 108% of their losses, although they did not obtain full liquidated

damages. Their recoveries are significant, with many plaintiffs receiving thousands of dollars.

(See Chart of Pls.’ Settlement Amounts, ECF No. 213-3 at 66–67.) Cf. Chapman, 2011 WL

2651867, at *18 (reducing attorney’s fees where counsel recovered only “a marginal amount of

the damages sought”). The recoveries exceeded the defendants’ expectations that “the most that

Plaintiffs could collectively hope to obtain is approximately $137,000 with respect to credit

wages in dispute and approximately $3,000 with respect to the disputed overtime wages.” (Mar.

29, 2011, Letter from Taylor, ECF No. 215-20, at 1.) Having already taken account of

unsuccessful motions for which plaintiffs’ counsel may not recover,9 the court does not find it




9
 The court also recognizes that plaintiffs’ counsel “wrote off” about 10–15 % of their hours, a
number of which related to plaintiffs dismissed from this litigation. (See Pls.’ Mot. for
Attorneys’ Fees, ECF No. 215, at 20 & n.5.)
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appropriate to order another reduction of billable hours based on plaintiffs’ counsel’s level of

success on the remaining claims in this case.

                                                      C.

       The defendants request a 25% reduction of plaintiffs’ counsel’s award based on the

Johnson factors. The court has considered all the Johnson factors in determining reasonable

attorneys’ fees but notes that the defendants’ analysis mainly reiterates arguments already

considered by the court. For instance, the defendants repeat that plaintiffs’ counsel failed to act

in good faith during settlement discussions and, in light of the boilerplate nature of plaintiffs’

written discovery responses, inflated hours dedicated to discovery. The defendants also argue

that plaintiffs’ counsel’s skills and knowledge should affect their fee award, an issue the court

considered in determining a reasonable hourly rate and deciding whether hours dedicated to

certain tasks are commensurate with the lawyers’ experiences. Additionally, the defendants

assert again that plaintiffs’ counsel had limited success. They also point to examples of

plaintiffs’ counsel’s aggressive behavior, and cases where the court awarded significantly lower

fees than those requested by plaintiffs. As explained above, to the extent that the Johnson factors

are accounted for in the lodestar analysis, they will not be considered a second time in a way that

would amount to “double-counting.” See E. Associated Coal Corp., 724 F.3d at 570.

Accordingly, the court does not find it appropriate to order an additional reduction based on

reasons already addressed in the above analysis.

                                                      D.

       The defendants claim the request for a fee enhancement or prejudgment interest is

unwarranted. Enhancements to the lodestar figure “may be awarded in rare and exceptional

circumstances.” Perdue, 559 U.S. at 552 (citation and internal quotation marks omitted); see



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also Daly v. Hill, 790 F.2d 1071, 1081 (4th Cir. 1986) (suggesting that an enhancement may be

awarded to account “for the effect of delay in payment on the value of the fee”). The fee

applicant has the burden to prove the enhancement is necessary and must offer “specific

evidence” supporting the award. Perdue, 559 U.S. at 553 (internal quotation marks omitted).

          Here, plaintiffs’ counsel argue that an enhancement, or prejudgment interest, is warranted

due to the delay in payment of fees and costs. To support this argument, they rely on Ohio River

Valley Envtl. Coal., Inc. v. Green Valley Coal Co., 511 F.3d 407 (4th Cir. 2007). In that case,

the Fourth Circuit determined that an award of prejudgment interest was appropriate to account

for the delay in payment. Id. at 419. The court reasoned that, to account for delay, a fee award

based on “historical fee rates” needed to be supplemented by prejudgment interest. Id.; see also

Daly, 790 F.2d at 1081 (vacating a fee award when the district court “adopt[ed] historic rates

without considering the effect of delay in payment on the value of the fee”). Unlike counsel in

Green Valley Coal, Hoffman’s award is not based on a historically lower fee rate. Rather, he

will be compensated at an hourly rate of $300.00, which represents the upper end of currently

accepted rates for lawyers with comparable experience of about fourteen years.10 Thus,

plaintiffs’ counsel’s reliance on Green Valley Coal is misplaced.

          Plaintiffs’ counsel also claim that Hoffman’s award will be unfairly “diluted” due to

changes in tax rates during the pendency of the case. But changes in the tax structure do not

constitute “exceptional circumstances” justifying an enhancement. Indeed, those changes are a

common occurrence. Accordingly, Hoffman’s request for an additional $17,052.96 will be

denied.




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  The rates claimed for Hoffman’s law clerk and legal assistant also represent the mid to upper
end of the accepted rates.
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                                         CONCLUSION

       For the reasons stated above, the court will award attorneys’ fees in the amount of

$407,270.00 and costs in the amount of $6,101.68. The court also will award a supplemental

payment of $10,410.00 in fees to plaintiffs’ counsel for the preparation of their reply brief. The

court will not, however, award Hoffman an enhancement or prejudgment interest. A separate

Order, which details the fees recoverable by each attorney, follows.




February 4, 2014                                                            /s/
Date                                                         Catherine C. Blake
                                                             United States District Judge




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